 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 1 of 40 PageID #: 502




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
UNITED STATES OF AMERICA

        -against-                                             NOTICE OF MOTION TO
                                                                  DISMISS
KARA STERNQUIST
                                                                    22-cr-473

--------------------------------------------------------X


       PLEASE TAKE NOTICE, that the defendant Kara Sternquist, by her
attorney Allegra Glashausser, of the Federal Defenders of New York, and upon the
accompanying memorandum of law, will move the Court, before the Honorable Dora
L. Irizzary, United States District Judge for the Eastern District of New York, for an
Order:
        1.      Dismissing the charge under 18 U.S.C. § 922(g) in the indictment; and

        2.      Granting such other and further relief as the Court may deem just and
                proper.


DATED:          BROOKLYN, N.Y.
                May 30, 2023
                                                                     /s/
                                                        Allegra Glashausser
                                                        Attorney for Ms. Kara Sternquist
                                                        Federal Defenders of New York
                                                        1 Pierrepont Plaza, 16th Floor
                                                        Brooklyn, N.Y. 11201
                                                        (212) 417-8739
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 2 of 40 PageID #: 503




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------X
UNITED STATES OF AMERICA

        -against-

KARA STERNQUIST
                                                                    22-cr-473
--------------------------------------------------------X




                            Memorandum of Law in Support of
                            Kara Sternquist’s Motion to Dismiss




                                                        Allegra Glashausser
                                                        Attorney for Ms. Kara Sternquist
                                                        Federal Defenders of New York
                                                        1 Pierrepont Plaza, 16th Floor
                                                        Brooklyn, N.Y. 11201
                                                        (212) 417-8734




                                                   2
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 3 of 40 PageID #: 504




       Kara Sternquist was charged with possessing a gun after having a prior felony

conviction, under 18 U.S.C. § 922(g)(1). The charged gun was found in a large,

apartment that was crammed with things, including collections of other gun parts,

home-made leather goods, such as purses and belts, and intricate costumes. There

were bags of keychains, coins, and plastic flowers; piles of discarded keys, business

cards, and old electronics. There were countless boxes of dried foods, containers of

bottled water, and medical supplies. Despite the sheer volume of items in the

apartment, there was not one piece of ammunition.

       Ms. Sternquist’s prior felony convictions were non-violent, under any definition

of the word “violent.” In 2003, she was convicted of theft; in 2006, she was convicted

of identity fraud; and, in 2010, she was convicted of possession of counterfeiting

tools. See Pretrial Report. She also had prior misdemeanor convictions; those too were

not violent. Ms. Sternquist’s non-violent record should have nothing to do with her

Second Amendment rights. That she was convicted of identity fraud, theft, or having

counterfeiting tools should have nothing to do with her right to possess guns.

       This Court should, therefore, find that Section 922(g)(1) improperly infringes

on Ms. Sternquist’s Second Amendment rights and that the gun charge against her

should be dismissed. See U.S. Const., II Amend.; Federal Rule of Criminal Procedure

12(b); New York State Rifle & Piston Association v. Bruen, 142 S. Ct. 2111 (2022).
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 4 of 40 PageID #: 505




                                       Argument

              There is no historical tradition banning people with
              non-violent felony convictions from owning guns,
              therefore, Kara Sternquist is part of the “people,” who
              have the constitutional right to “bear arms.”
       The Second Amendment provides that “the right of the people to keep and

bear Arms, shall not be infringed.” U.S. Const. Amend. II. The Second Amendment

right is “fundamental to our scheme of ordered liberty” that cannot be treated “as a

second-class right, subject to an entirely different body of rules than the other Bill of

Rights guarantees.” McDonald v. City of Chicago, 561 U.S. 742, 767, 780 (2010). Second

Amendment rights are as important and deserving of protection as all enumerated

constitutional rights, which “are enshrined with the scope they were understood to

have when the people adopted them, whether or not future legislatures or (yes) even

future judges think that scope too broad.” District of Columbia v. Heller, 554 U.S. 570,

634-35 (2008).

       “When the Second Amendment’s plain text covers an individual’s conduct, the

Constitution presumptively protects that conduct.” Bruen, 142 S. Ct. at 2129–30. Here,

Ms. Sternquist and her alleged conduct fall squarely within the Second Amendment’s

plain text. Ms. Sternquist is a member of the “people” protected by the Second

Amendment, and the gun she is accused of possessing, described in the indictment as

a black 9 millimeter pistol, is within the scope of “arms” to which the Second

Amendment indisputably applies. See Heller, 554 U.S. at 628 (rejecting argument that

                                            2
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 5 of 40 PageID #: 506




the Second Amendment only protected the right to have guns related to preserving a

militia). As such, the possession of guns by people with felony convictions, like Ms.

Sternquist, is presumptively covered by the Second Amendment. This is particularly

true as Ms. Sternquist’s only prior felony convictions are for non-violent, fraud and

theft-related crimes. She has never committed a violent felony. Her convictions,

which have nothing to do with guns or violence, have no logical relationship to a

prohibition on possessing guns.

      To justify a wholesale withdrawal of Second Amendment rights, the

government must demonstrate a narrow, well-defined historical tradition of distinctly

similar prohibitions at or near the time the Second Amendment was ratified in 1791.

There is no such historical tradition. Thus, neither the text of the Second Amendment

nor historical tradition allow the complete lifetime prohibition on the possession of

guns by Ms. Sternquist. For these reasons, as explained below, section 922(g)(1) is

unconstitutional. This is particularly true as applied to Ms. Sternquist, who is not

dangerous and has no violent convictions. See Kanter v. Barr, 919 F.3d 437, 451 (7th

Cir. 2019) (Barrett, J., dissenting) (the “dispossession of all felons—both violent and

nonviolent—is unconstitutional as applied to Kanter, who was convicted of mail

fraud.”). Accordingly, the charge against her under section 922(g)(1) should be

dismissed.




                                            3
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 6 of 40 PageID #: 507




   I.      The Bruen historical inquiry framework to Second Amendment
           challenges.
        Last term, the Supreme Court emphatically repudiated the trend among lower

courts to “defer[ ] to legislative interest balancing” when scrutinizing firearms

regulations. See Bruen, 142 S. Ct. at 2121. In Bruen, the Supreme Court emphasized that

a gun regulation is constitutional only if it conforms to the Second Amendment’s text

and this nation’s historical tradition. Id. at 2127, 2129–30. Following Bruen, courts

across the country have reconsidered and held unconstitutional numerous firearms

regulations that cannot satisfy the rigorous analysis mandated by the Supreme Court.

See United States v. Rahimi, 61 F.4th 443 (5th Cir. 2023) (finding that statute prohibiting

possession of guns by someone subject to a domestic violence restraining order is

unconstitutional); United States v. Perez-Gallan, 22 Cr. 427 (DC), 2022 WL 16858516

(W.D. Tex. Nov. 10, 2022) (same); United States v. Connelly, No. EP-22-CR-229(2)-KC,

2023 WL 2806324 (W.D. Tex. Apr. 6, 2023) (statute prohibiting possession of guns by

an unlawful user of a controlled substance is unconstitutional); United States v. Harrison,

No. CR-22-00328-PRW, 2023 WL 1771138 (W.D. Okla. Feb. 3, 2023) (same). See also

United States v. Hicks, No. W:21-CR-00060-ADA, 2023 WL 164170 (W.D. Tex. Jan. 9,

2023) (federal statute prohibiting receipt of firearm while under felony indictment

violated Second Amendment); Firearms Policy Coal. v. McCraw, 21 Civ. 1245, 2022 WL

3656996, at *5 (N.D. Tex. Aug. 25, 2022) (holding that statute limiting gun ownership

to people over 21 was not “consistent” with the nation’s “historical tradition);


                                             4
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 7 of 40 PageID #: 508




       In 2022, the Supreme Court invalidated the prior framework for adjudicating

Second Amendment challenges that the Second Circuit and other courts had used and

provided detailed instructions on how lower courts should resolve such claims going

forward. In Bruen, the Supreme Court explained that “the standard for applying the

Second Amendment is as follows”:

              When the Second Amendment’s plain text covers an
              individual’s conduct, the Constitution presumptively
              protects that conduct. The government must then justify its
              regulation by demonstrating that it is consistent with the
              Nation’s historical tradition of firearm regulation. Only
              then may a court conclude that the individual’s conduct
              falls outside the Second Amendment’s unqualified
              command.

       142 S. Ct. at 2129–30 (internal quotation marks omitted).

       The Supreme Court then identified two different classes of gun regulations,

each demanding a distinct analytical approach. First, when analyzing a regulation

directed at “a general societal problem that has persisted since the 18th century,”

courts must conduct a “straightforward historical inquiry.” Id. at 2131. In this analysis,

the government bears the burden of identifying a tradition of “distinctly similar”

regulations from the founding era. Id. at 2137–38; see id. at 2150 (holding that it is the

burden of the government to “sift the historical materials for evidence” to sustain the

regulation at issue).

       Relevant evidence that a modern regulation is unconstitutional includes “the

lack of a distinctly similar historical regulation,” earlier generations’ attempts to

                                             5
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 8 of 40 PageID #: 509




regulate the conduct at issue “by materially different means,” or the rejection of

“analogous regulations” at the time of the founding. Id. at 2137–38. Essentially, if

“the Founders themselves could have adopted” a particular regulation to

“confront” a problem that existed in 1791, but did not do so, then that regulation

is unconstitutional. See id.

       Second, courts may resort to a “more nuanced” form of “analogical reasoning”

only when a challenged regulation implicates “unprecedented societal concerns or

dramatic technological changes.” See id. at 2132. Under this second approach, the

government must “identify a well-established and representative historical analogue,

not a historical twin.” Id. at 2133. This type of analogical reasoning only applies to

“modern regulations that were unimaginable at the founding.” Id. at 2132.

       Here, the first approach applies. Ms. Sternquist is charged with violating 18

U.S.C. § 922(g)(1), which prohibits people with any type of felony conviction –

including non-violent convictions like Ms. Sternquist’s fraud and theft crimes – from

possessing a gun under all circumstances, including within the home, for defense of

the home. The “problem” Congress sought to address with that law, the possession of

guns by people with felony convictions, is a “general societal problem that has

persisted since the 18th century.” See Bruen, 142 S. Ct. at 2131. Therefore, under

Bruen’s analytical framework, it is the government’s burden to identify a tradition of

“distinctly” similar founding-era regulations. See id.



                                             6
 Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 9 of 40 PageID #: 510




         Because no such historical tradition exists, infra, prosecuting Ms. Sternquist

under section 922(g)(1) violates her constitutional rights.

   II.      The right to bear arms “belongs to all Americans,” including Ms.
            Sternquist.

         Nowhere does the Second Amendment circumscribe “the people” whose

rights it guarantees. See U.S. Const. amend. II. In Heller, the Supreme Court canvassed

the constitutional text and historical record and held that the Second Amendment

codified a pre-existing “individual right to keep and bear arms” that “belongs to all

Americans.” 554 U.S. at 581, 592. The Court stated that there is “no doubt, on the

basis of both text and history, that the Second Amendment conferred an individual

right to keep and bear arms.” Heller, 554 U.S. at 595. As used in the Second

Amendment, “the people” “unambiguously refers to all members of the political

community, not an unspecified subset.” Heller, 554 U.S. at 580. That right is as

important and deserving of protection as all enumerated constitutional rights, which

“are enshrined with the scope they were understood to have when the people adopted

them.” Id. at 634–35.

         As the Supreme Court noted in its “textual analysis” of the Second

Amendment’s “operative clause,” the phrase “the right of the people” also appears in

the First and Fourth Amendments, Heller, 554 U.S. at 580, and “the people” by whom

rights are retained or reserved also appears in the Ninth and Tenth Amendments. See

U.S. Const. amend. I (“the right of the people to peaceably assemble, and to petition

                                              7
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 10 of 40 PageID #: 511




the Government for a redress of grievances”); id. amend. IV (“the right of the people

to be secure in their persons, houses, papers, and effects, against unreasonable

searches and seizures”); id. amend. IX (unenumerated rights “retained by the people”);

id. amend. X (non-delegated rights “reserved to the States respectively, or to the

people”). As used in the Bill of Rights, “the people” thus has one unitary meaning: it

“refers to a class of persons who are part of a national community or who have

otherwise developed sufficient connection with this country to be considered part of

that community.” Heller, 554 U.S. at 579–81 (quoting United States v. Verdugo-Urquidez,

494 U.S. 259, 265 (1990)). The phrase “the people” thus creates “a strong

presumption that the Second Amendment right is exercised individually and belongs

to all Americans.” Id. at 581. Indeed, Bruen cites Heller as stating, “[t]he Second

Amendment guaranteed to ‘all Americans’ the right to bear commonly used arms in

public subject to certain reasonable, well-defined restrictions.’” Bruen, 142 S. Ct. at

2156.

        To read “the people” protected by the Second Amendment as excluding

persons convicted of non-violent felonies would be contrary to text and at odds with

the cardinal rule of statutory interpretation that “identical words used in different

parts of the same statute are generally presumed to have the same meaning.” IBP, Inc.

v. Alvarez, 546 U.S. 21, 34 (2005). The untenable result would be to single out the

Second Amendment for “specially unfavorable treatment.” See McDonald, 561 U.S. at

780. The Founders, for example, certainly did not conceive that people with felony
                                             8
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 11 of 40 PageID #: 512




convictions could be searched and seized unreasonably or prevented from peaceably

assembling. See Verdugo-Urquidez, 494 U.S. at 265 (holding that the same “people” are

protected by the First, Second, Fourth, Ninth, and Tenth Amendments). Now-Justice

Barrett, reading Heller to interpret “‘the people’ as referring to ‘all Americans,’”

rejected the notion that felons are “categorically excluded from our national

community.” Kanter v. Barr, 919 F.3d 437, 451–53 (7th Cir. 2019) (Barrett, J.,

dissenting).

       There is also no historical evidence that Founding-era legislators considered

people with non-violent felony convictions to be outside the Second Amendment’s

protections. Contemporary dictionaries define “people” as “those who compose a

community,” extending to “every person” who lives within a country or nation. See,

e.g., Ex. A, 2 Samuel Johnson, A Dictionary of the English Language (1766) (defining

“people” as “a nation; those who compose a community”); Ex. B, Thomas Dyche &

William Pardon, A New General English Dictionary (14th ed. 1771) (defining “people” as

“every person, or the whole collection of inhabitants in a nation or kingdom”); Ex. C,

Nathan Bailey, A Universal Etymological English Dictionary (1790) (defining “people” as

“the whole Body of Persons who live in a Country, or make up a Nation”); Ex. D,

John Ash, The New and Complete Dictionary of the English Language (2d ed. 1795) (defining

“people” as “a nation, the individuals composing a community; the commonalty, the

bulk of a nation, persons of a particular class; persons in general”); Noah Webster,

American Dictionary of the English Language (1828) (defining “people” as “the body of
                                             9
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 12 of 40 PageID #: 513




persons who compose a community, town, city or nation . . . In this sense, the word is

not used in the plural, but it comprehends all classes of inhabitants, considered as a

collective body, or any portion of the inhabitants of a city or country”), available at

https://webstersdictionary1828.com/Dictionary/people.

       Contemporary legislation agrees. The Heller Court explained that “the Second

Amendment’s prefatory clause”—“A well regulated Militia, being necessary to the

security of a free State”—“announces the purpose for which the right was codified: to

prevent elimination of the militia.” 554 U.S. at 599. Given that “stated purpose, logic

demands that if an individual was (or is) a member of the ‘militia,’ the Second

Amendment’s protections extend at least to those who constitute the militia.” McCraw,

2022 WL 3656996, at *5. In the first Militia Act, enacted one year after the Second

Amendment’s ratification, Congress provided that “each and every free able-bodied

white male citizen of the respective states, resident therein, who is or shall be of the

age of eighteen years, and under the age of forty-five years . . . shall severally and

respectively be enrolled in the militia.” Act of May 8, 1792, § 1, 1 Stat. 271. The Act

further stipulated that “every citizen so enrolled . . . shall, within six months

thereafter, provide himself with a good musket or firelock, a sufficient bayonet and

belt,” and various other firearm accoutrements. Id. Although the Act “exempted”

certain classes of people from its requirements, such as “custom-house officers” and

“ferrymen employed at any ferry on the post road,” people with felony convictions

were not among those excluded. Id. § 2, 1 Stat. 272.
                                            10
    Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 13 of 40 PageID #: 514




         As the Militia Act makes clear, at the time of the Founding (and the Second

Amendment’s adoption), people with felony convictions were not only permitted to

possess firearms, they were legally required to do so in some circumstances. Given

this legal obligation, holding that such people now lack Second Amendment rights

would be textually and historically untenable. See McCraw, 2022 WL 3656996, at *5

(“It would be illogical to enumerate a constitutional right to keep and bear arms to

maintain an armed militia if that right did not protect those individuals from whom a

militia would be drawn”).

         That the Supreme Court has occasionally used the phrase “law-abiding

citizens” when referring to the scope of Second Amendment rights does not affect

this analysis. As the Heller Court explained, “whatever else it leaves to future evaluation, [the

Second Amendment] surely elevates above all other interests the right of law-abiding,

responsible citizens to use arms in defense of hearth and home.” 554 U.S. at 635

(emphasis added). This language establishes a constitutional floor, not a ceiling; it sets

out that law-abiding citizens are protected by the Second Amendment, not that people

with felony convictions are not protected.1

1
         This Court should not follow the (now-vacated) panel decision from the Third Circuit that
those convicted of offenses punishable by more than a year of imprisonment are not part of “the
people.” See Range v. Atty. Gen., 53 F.4th 262 (3d Cir. 2022), reh’g en banc granted, opinion vacated, 56
F.4th 992 (3d Cir. 2023). As described infra, the Third Circuit panel erroneously employed the
“analogical reasoning” approach that the Bruen Court limited to “distinctly modern firearm
regulation[s],” not the “distinctly similar historical regulation” standard mandated for “general
societal problem[s] that ha[ve] persisted since the 18th century.” See Range, 53 F.4th at 270–71. This
fundamental error warped the panel’s analysis, permitting the government to defend section
922(g)(1) based on insufficiently similar historical regulations.

                                                   11
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 14 of 40 PageID #: 515




         In addition to being at odds with authority, text, and established canons of

construction, defining “the people” whom the Second Amendment protects by

reference to a vague and malleable “law abiding” standard suffers from a lack of

administrability and necessarily involves the very “interest-balancing” Bruen

emphatically rejected. See 142 S. Ct. at 2129–31; Kanter, 919 F.3d at 452 (Barrett, J.,

dissenting) (“To say that certain people fall outside the Amendment’s scope” means

that “a person could be in one day and out the next.”); Perez-Gallan, 2022 WL

16858516, at *9 (holding section 922(g)(8) unconstitutional and noting that restricting

“the people” to “law-abiding” persons could absurdly strip Second Amendment rights

from the speeding driver and the shop-owner who forgets to put out a “wet floor”

sign).

         In sum, people with felony convictions do not lose their status as “people”

under the Constitution. The Second Amendment, rather, “belongs to all Americans.”

Heller, 554 U.S. at 581; accord Bruen, 142 S. Ct. at 2156. Just as it does not “draw . . . a

home/public distinction with respect to the right to keep and bear arms,” Bruen, 142

S. Ct. at 2134, the Constitution does not draw a felon/non-felon distinction. Had the

Founders intended the Second Amendment’s use of “the people” to refer only to

“law-abiding” persons, they would have said so. That they did not, and that they used

the same “the people” language as in the First, Fourth, Ninth, and Tenth

Amendments, demonstrates that people with felony convictions were considered part

of “the people” in the Founding era.
                                             12
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 15 of 40 PageID #: 516




      Thus, Ms. Sternquist’s alleged conduct is plainly covered by the text of the

Second Amendment and is “presumptively protected” on constitutional grounds.

   III.    There is no historical tradition of banning people with non-violent
           felony convictions from possessing guns.

      Because the Second Amendment’s plain text covers Ms. Sternquist’s alleged

conduct, the burden is on the government to establish that section 922(g)(1) “is

consistent with the Nation’s historical tradition of firearm regulation” based on

evidence at or near the time of the Second Amendment’s ratification in 1791. Bruen,

142 S. Ct. at 2129–30. It cannot do so.

      a.      Bruen’s “straightforward historical analysis” test applies

      Courts faced with a Bruen challenge must identify at the outset the problem at

which a statute is aimed, and then determine whether it existed in 1791 or instead

grows out of “unprecedented” societal changes or “dramatic technological” changes.

Id. at 2132. The “problem” of people with felony convictions possessing guns is not

new to modern America. On the contrary, in the Founding era, a substantial number

of Americans had previously been convicted of felonies. For example, between 1700

and 1775, approximately 52,200 convicts were sent to the 13 colonies. See

Encyclopedia Virginia, “Convict Labor during the Colonial Period,” available at

encyclopediavirginia.org/entries/convict-labor-during-the-colonial-period/ (last

accessed May 30, 2023). There were also laws aimed to exclude some people from


                                            13
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 16 of 40 PageID #: 517




having guns in that time-period, but these laws were race-based, rather than based on

a person’s criminal record. See, e.g., Adam Winkler, Essay, Racist Gun Laws and the

Second Amendment, 135 HARV. L. REV. F. 537 (2022); Dred Scott v. Sandford, 60 U.S. 393,

417, 15 L. Ed. 691 (1857) (in holding that Black people could not be citizens, noting

that would mean they could “keep and carry arms wherever they went”); Kanter, 919

F.3d at 458 (Barrett, J., dissenting) (“Slaves and Native Americans, on the other hand,

were thought to pose more immediate threats to public safety and stability and were

disarmed as a matter of course.”). The question of whether people with felony

convictions should be allowed to possess guns, therefore, is not “unimaginable” or

“unprecedented,” but, instead, “a general societal problem that has persisted since the

18th century.” See Bruen, 142 S. Ct. at 2137–38.

       As the Supreme Court made clear, such “general societal problems” must be

analyzed utilizing a strict test. Rather than engaging in the “analogical reasoning”

reserved for novel issues, the Court must instead conduct a “straightforward historical

analysis,” and, for a firearms regulation to survive, the government must demonstrate

a tradition of “distinctly similar historical regulation[s]” from the Founding era. Id. A

“tradition” of regulation requires more than one or two isolated examples. It demands

a robust, “widespread” historical practice “broadly prohibiting” the conduct in

question. See id. Although the Bruen Court did not define what constitutes a

“tradition,” it did hold that “a single law in a single State” is insufficient and doubted

that regulations of three of the thirteen colonies “could suffice.” Id. at 2142–45
                                            14
    Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 17 of 40 PageID #: 518




(noting that the three colonial regulations the government identified were not

analogous to the challenged New York public-carry restriction).

         Similarly, while Bruen did not define “distinctly similar,” its analysis

demonstrates that the standard is a stringent one. The only historical regulation Bruen

identified as sufficiently similar to the New York law Bruen invalidated was an 1871

Texas law forbidding “anyone from ‘carrying on or about his person . . . any pistol . . .

unless he has reasonable grounds for fearing an unlawful attack on his person.’” Id. at

2153 (citing 1871 Tex. Gen. Laws § 1). This “reasonable grounds” requirement was

essentially identical to New York courts’ interpretation of that state’s standard. See id.

at 2123–24 & n.2. A “distinctly similar” regulation to section 922(g)(1) therefore

would be one that either substantially abridged the right to keep and bear arms by

those convicted of felonies or permanently denied firearms to some group very

similar to felons (e.g., those convicted of some subset of crimes).2




2
        The vacated panel decision in Range reflected, inter alia, two fundamental methodological
flaws at these steps of the required analysis. First, as noted, the access to firearms by those convicted
of felonies has posed a (potential) “societal problem” since well before 1791. Therefore, the
government was required to identify a “distinctly similar” Founding-era regulation. But the panel
skipped the “distinctly similar” test without mentioning it and did not identify a single Founding-era
law barring people with felony convictions from possessing a firearm (because none exist, see infra).
Range, 53 F.4th at 274–82. Instead, the panel applied the less rigorous “relevantly similar” rubric and
analogized section 922(g)(1) to purported historical regulations it described at extremely high levels
of generality, such as measures disarming people who “evince[d] a disrespect for the rule of law.” Id.
at 282. Defining a historical tradition at that level of generality is inconsistent with Bruen’s demand
for “distinctly similar” precursors. See 142 S. Ct. at 2131.

                                                   15
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 18 of 40 PageID #: 519




       b.     There is no American historical tradition of banning people with felony
              convictions from possessing firearms

       When it comes to the Second Amendment, “not all history is created equal.”

Bruen, 142 S. Ct. at 2136. The Supreme Court has given almost no weight to

twentieth-century laws and has found that late-nineteenth century laws have an

unacceptable “temporal distance from the founding.” Id. at 2154. Moreover,

regardless of the historical record, the Second Amendment’s text is always paramount:

post-ratification laws that “are inconsistent with the original meaning of the

constitutional text obviously cannot overcome or alter that text.” Id. at 2137

(quotations and emphasis omitted).

       Although it is the government’s burden to prove a Founding-era tradition of

permanently barring people with felony convictions from possessing guns, the simple

truth, as now-Justice Barrett noted in 2019, is that “scholars have been unable to

identify” any Founding-era felon-disarmament laws. See Kanter, 919 F.3d at 454

(Barrett, J., dissenting). That is because none exist. See, e.g., Royce de R. Barondes, The

Odious Intellectual Company of Authority Restricting Second Amendment Rights to the

“Virtuous,” 25 TEX. REV. L. & POL. 245, 291 (2021) (noting the lack of “any direct

authority whatsoever” for the view that felons were “deprived of firearm rights” at the

Founding). Robert H. Churchill, a history professor at the University of Hartford, has

taken “a full survey of printed session laws pertaining to gun regulation in the thirteen

colonies and Vermont between 1607 and 1815.” Robert H. Churchill, Gun Regulation,

                                              16
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 19 of 40 PageID #: 520




the Police Power, and the Right to Keep Arms in Early America: The Legal Context of the Second

Amendment, 25 LAW & HIST. REV. 139, 143 & n.11 (2007). Based on that survey,

Professor Churchill concluded that “at no time between 1607 and 1815 did the

colonial or state governments of what would become the first fourteen states exercise

a police power to restrict the ownership of guns by members of the body politic.” Id.

at 142. Carlton Larson, a professor at the University of California-Davis School of

Law, has similarly found that “state laws prohibiting felons from possessing firearms

or denying firearms licenses to felons date from the early part of the twentieth

century.” Carlton F.W. Larson, Four Exceptions in Search of a Theory: District of

Columbia v. Heller and Judicial Ipse Dixit, 60 HASTINGS L.J. 1371, 1376 (2009). As

another commentator has noted, while it is difficult “to prove a negative, one can with

a good degree of confidence say that bans on convicts possessing firearms were

unknown before World War I.” C. Kevin Marshall, Why Can’t Martha Stewart Have A

Gun?, 32 HARV. J. L. & PUB. POL’Y 695, 708 (2009).

       Founding-era state legislatures had it in their power to disarm disfavored

groups when they wanted. This historical record is stained with examples of

Founding-era “legislatures [that] categorically disarmed groups whom they judged to

be a threat to the public safety,” such as Black people and Native Americans. Kanter,

919 F.3d at 458 (Barrett, J., dissenting); see also Adam Winkler, Essay, Racist Gun Laws

and the Second Amendment, 135 HARV. L. REV. F. 537 (2022). Notably, Ms. Sternquist

also would not fall into the category of being a “threat to the public safety.” As in
                                              17
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 20 of 40 PageID #: 521




Kantor, where Justice Barrett, then-Judge Barrett, dissented, noting that a person with

a non-violent felony conviction should not be permanently deprived of his Second

Amendment rights, there is no evidence Ms. Sternquist “would be dangerous if

armed,” based on her criminal history. 919 F.3d at 468-69. On the contrary, nothing

about her fraud and theft-related felony convictions suggest she was a threat to safety.

      No legislatures barred people with felony convictions from possessing guns.

That state legislatures had the power to disarm people with felony convictions, but

did not do so, belies any attempt the government may make to claim a “historical

tradition” of felon-disarmament.

      During debates over the ratification of the Second Amendment, the concept of

felon-disarmament gained no traction in the state legislatures. Only three state

legislatures introduced proposals that would limit the scope of the Second

Amendment’s right to bear arms. Of those three, only New Hampshire’s sought to

withdraw the right to bear arms, not from “felons” as a class, but only from people

who “are or have been in actual rebellion.” Kanter, 919 F.3d at 454–55 (Barrett, J.,

dissenting); see 1 Jonathan Elliot, THE DEBATES IN THE SEVERAL STATE

CONVENTIONS ON THE ADOPTION OF THE FEDERAL CONSTITUTION 326 (2d Ed.

1891). Pennsylvania’s ratifying convention considered and rejected a proposal to

withhold the right to bear arms from individuals with criminal convictions. 2 Bernard

Schwartz, THE BILL OF RIGHTS: A DOCUMENTARY HISTORY 658, 660 (1971). “[N]one



                                           18
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 21 of 40 PageID #: 522




of the relevant limiting language made its way into the Second Amendment.” Kanter,

919 F.3d at 455 (Barrett, J., dissenting).

       There is, in sum, no Founding-era “historical tradition” of firearms regulations

“distinctly similar” to section 922(g)(1). The “Founders themselves could have

adopted” laws like section 922(g)(1) to “confront” the “perceived societal problem”

posed by access to firearms by those convicted of felonies. See Bruen, 142 S. Ct. at

2131. That they refused to do so demonstrates that section 922(g)(1) “[i]s

unconstitutional.” Id.

       Felon-disarmament laws like section 922(g)(1) are, instead, a modern

innovation. That is particularly true for non-violent felonies. The “Federal Firearms

Act,” the precursor to section 922(g)(1) and the first federal felon-disarmament law,

was not enacted until 1938, “147 years after the states ratified the Second

Amendment.” United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010). In its initial

form, that law only barred receipt of a firearm and only by those convicted of “a few

violent offenses.” Id. The law was not extended to cover all people with felony

convictions until 1961 and not amended to bar simple possession (rather than receipt)

until 1968. Id. Thus, Ms. Sternquist’s non-violent felony convictions were not part of

the first federal felon-disarmament law.

       Nor did felon-disarmament laws exist in the states until the twentieth century.

It was not until 1917 that New York became the first state to prohibit people with

felony convictions from owning firearms. See Ex. E, 1917 N.Y. Laws at 1643–45
                                             19
    Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 22 of 40 PageID #: 523




(establishing that “[t]he conviction of a licensee of a felony in any part of the state

shall operate as a revocation of the license”). After New York’s 1917 revocation

provision, no other state passed a felon-disarmament law until 1923. See Lawrence

Rosenthal, The Limits of Second Amendment Originalism and the Constitutional Case for Gun

Control, 92 WASH. U. L. REV. 1187, 1211 (2015) (“[P]rohibitions on the possession of

firearms by convicted felons emerged early in the twentieth century in response to a

crime wave following the First World War.”); see also Adam Winkler, Heller’s Catch-22,

56 UCLA L. REV. 1551, 1563 (2009) (“Bans on ex-felons possessing firearms were

first adopted in the 1920s and 1930s, almost a century and a half after the Founding”);

Nelson Lund, The Second Amendment, Heller, and Originalist Jurisprudence, 56 UCLA L.

REV. 1343, 1357 (2009) (noting “the absence of historical support for the claim that

[felon-disarmament laws] are consistent with the preexisting right to arms”).

         This historical absence of felon-disarmament laws until the twentieth century is

fatal to any argument the government might make regarding a Founding-era historical

tradition of regulations “distinctly similar” to section 922(g)(1). These more modern

provisions are simply insufficient to overcome the presumption of unconstitutionality

that attaches to § 922(g)(1). See Bruen, 142 S. Ct. at 2154 (treating twentieth-century

regulations as carrying practically no weight in the Second Amendment analysis). 3

3
        In considering any historical examples the government might identify, courts must be
mindful of Bruen’s instruction that, in carving out exceptions to “the Second Amendment’s
unqualified command,” 142 S. Ct. at 2126, courts should proceed cautiously, defining those
exceptions narrowly and concretely to ensure they are in fact consistent with America’s historical
tradition of firearm regulation. In Bruen, the Supreme Court rejected New York’s argument that its
                                                20
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 23 of 40 PageID #: 524




IV.    Bruen abrogated prior case law relying on “presumptively lawful”
       exceptions to the second amendment.

       In attempting to insulate a clearly unconstitutional law from the analytical

scrutiny mandated by Bruen, the government might point to the Supreme Court’s dicta

that “longstanding prohibitions” on people with felony convictions possessing

firearms are “presumptively lawful.” Heller, 554 U.S. at 626–27 & n.26. Similarly, the

government might point to Bruen’s references to “law-abiding” citizens. See 142 S. Ct.

at 2128–29. But this dicta, which briefly discussed an issue not before the Supreme

Court, does not obviate the need for all lower courts considering challenges to

firearms regulations to engage in the independent analysis Bruen demands.

       Heller had nothing to do with the lawfulness of felon-disarmament statutes. The

issue before the Supreme Court was whether the District of Columbia’s blanket

handgun ban was constitutional. In confirming that the right to bear arms is an

individual right, the Court cautioned that the right is “not unlimited” and provided a

non-exhaustive list of “presumptively lawful regulatory measures” in a footnote.

Heller, 554 U.S. at 626–27 & n.26. Those measures included laws restricting

possession by people with felony convictions and the mentally ill, as well as the

carrying of firearms in “sensitive places.” Id.


collection of discrete historical regulations amounted to a tradition of broadly prohibiting public
carry, or of conditioning it on a special need for self-defense. Id. at 2156. From the fact that
founding-era laws prohibited “particular mode[s]” of public carry, the Court declined to conclude
that legislatures may enact a “general prohibition” on all modes of public carry or may “ban public
carry altogether.” Id. at 2146–47 & n.19 (emphasis altered).

                                                 21
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 24 of 40 PageID #: 525




       But the Supreme Court emphasized that, in reaching its holding, “we do not

undertake an exhaustive historical analysis today of the full scope of the Second

Amendment.” Id. at 626. Heller was the Court’s “first in-depth examination of the

Second Amendment,” and the Court reiterated that it could not “clarify the entire

field.” Id. at 635. Notably, it promised that there would be “time enough to expound

upon the historical justifications for the exceptions we have mentioned if and when

those exceptions come before us.” Id.

       Bruen subsequently demonstrated that the “presumptively lawful regulatory

measures” the Supreme Court referenced in Heller were merely that: presumptive and

in need of deeper analysis. Among the presumptively lawful measures Heller cited were

“prohibitions on carrying concealed weapons,” which “the majority of the 19th-

century courts” had held were “lawful under the Second Amendment or state

analogues.” 554 U.S. at 626. In Bruen, however, the Supreme Court undertook an

“exhaustive historical analysis” of a state licensing regime regulating, among other

things, the concealed carrying of firearms. See 142 S. Ct. at 2156. It ultimately

concluded that states in fact could not issue a blanket prohibition on concealed carry,

notwithstanding Heller’s dicta to the contrary. Id. In deeming one of Heller’s

“presumptively lawful” measures to be unconstitutional, the Bruen Court did what

Heller demanded: it conducted an “exhaustive historical analysis” of one of the

“exceptions” that had now “come before it.” Heller, 554 U.S. at 635. The Court thus

demonstrated that Heller’s preliminary list of Second Amendment exceptions was not
                                            22
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 25 of 40 PageID #: 526




binding on future courts and did not prevent them from conducting a full historical

review that might point to a different conclusion. As such, pre-Bruen decisions treating

Heller’s “presumptively lawful” list as dispositive are no longer good law. See, e.g.,

United States v. Bogle, 717 F.3d 281 (2d Cir. 2013) (per curiam). Instead, this Court must

undertake an “exhaustive historical analysis” to determine the constitutionality of

section 922(g)(1) in the first instance.

       The Heller Court made an important observation about how lower courts

should interpret the scope of the Second Amendment: “[i]t is inconceivable that we

would rest our interpretation of the basic meaning of any guarantee of the Bill of

Rights upon . . . footnoted dictum in a case where the point was not at issue and was

not argued.” 554 U.S. at 625 n.25. Heller’s reference to “presumptively lawful

regulatory measures” is just such dictum: a passing reference, confined to a footnote,

regarding an issue not raised or argued. See Tyler v. Hillsdale Cty. Sheriff’s Dep’t, 837 F.3d

678, 686–87 (6th Cir. 2016) (en banc) (describing Heller’s “presumptively lawful”

language as “dictum” and remanding, holding that permanent disarmament under

Section 922(4) based on being in a mental institution “plausibl[y]” violated Second

Amendment rights); United States v. Williams, 616 F.3d 685, 692 (7th Cir. 2010) (same).

It is not dispositive of this Court’s independent determination of whether section




                                              23
    Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 26 of 40 PageID #: 527




922(g)(1) is, in fact, consistent with our nation’s history and traditions.4 This analysis

leads ineluctably to the conclusion that it is not.

                                            Conclusion

         For the foregoing reasons, this Court should hold that section 922(g)(1) is

unconstitutional both on its face, and as applied to Ms. Sternquist, who is not

dangerous and has no violent felony convictions. Accordingly, the charge under

section 922(g)(1) should be dismissed.



Dated:         May 30, 2023                            Respectfully submitted,
               Brooklyn, New York
                                                       By: /s/ Allegra Glashausser
                                                       Allegra Glashausser
                                                       Attorney for Ms. Kara Sternquist
                                                       Federal Defenders of New York, Inc.
                                                       1 Pierrepont Plaza, 16th Floor
                                                       Brooklyn, N.Y. 11201
                                                       (212) 417-8739




4
    Similarly, while Bruen employed the phrase “law-abiding citizens” in various contexts, the actual
text of the Second Amendment does not and Bruen prescribes a “methodology centered on
constitutional text and history.” 142 S. Ct. at 2128–29. As discussed, Heller has already construed the
text and nothing in Bruen’s references to “law-abiding citizens” can be read as rejecting Heller’s
interpretation of “the people.”

                                                  24
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 27 of 40 PageID #: 528




                                  Exhibit A




                                     25
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 28 of 40 PageID #: 529




                                     26
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 29 of 40 PageID #: 530




                                  Exhibit B




                                     27
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 30 of 40 PageID #: 531




                                     28
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 31 of 40 PageID #: 532




                                  Exhibit C




                                     29
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 32 of 40 PageID #: 533




                                     30
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 33 of 40 PageID #: 534




                                  Exhibit D




                                     31
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 34 of 40 PageID #: 535




                                     32
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 35 of 40 PageID #: 536




                                  Exhibit E




                                     33
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 36 of 40 PageID #: 537




                                     34
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 37 of 40 PageID #: 538




                                     35
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 38 of 40 PageID #: 539




                                     36
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 39 of 40 PageID #: 540




                                     37
Case 1:22-cr-00473-DLI Document 74 Filed 05/30/23 Page 40 of 40 PageID #: 541




                                     38
